                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                            )
                                                     )       Case No. 1:07-cr-83-004
 v.                                                  )
                                                     )       Judge Mattice/Steger
 WILLIAM FLOYD PERKINS                               )

                                MEMORANDUM AND ORDER

        WILLIAM FLOYD PERKINS (“Defendant”) came before the Court for an initial
 appearance on March 2, 2017, in accordance with Rule 32.1 of the Federal Rules of Criminal
 Procedure on the Petition for Warrant for Offender under Supervision (“Petition”).

         After being sworn in due form of law, Defendant was informed of his privilege against
 self-incrimination under the 5th Amendment and his right to counsel under the 6th Amendment
 to the United States Constitution.

         The Court determined Defendant wished to be represented by an attorney and that he
 qualified for the appointment of an attorney to represent him at government expense.
 Consequently, the Court APPOINTED Erin Rust of Federal Defender Services of Eastern
 Tennessee, Inc. to represent Defendant.

        Defendant was furnished with a copy of the Petition, and had an opportunity to review
 that document with his attorney. The Court determined that Defendant was able to read and
 understand the Petition with the assistance of his counsel. In addition, AUSA Michael Porter
 explained to Defendant the specific charges contained in the Petition. Defendant acknowledged
 he understood the charges in the Petition.

         The Government moved Defendant be detained pending disposition of the Petition or
 further Order of this Court. The Court explained Defendant’s right to a preliminary hearing and
 detention hearing and what those hearings entail. Defendant conferred with his counsel and
 waived the preliminary hearing and detention hearing.

        The Court finds that probable cause exists to support the allegations that Defendant has
 committed violations of his conditions of supervised release, and that Defendant has not carried
 the burden of establishing by clear and convincing evidence that he will not flee or pose a danger
 to any other person or to the community. Consequently, the Court GRANTED the
 Government’s oral motion to detain Defendant pending disposition of the Petition or further
 Order of this Court.

        It is, therefore, ORDERED that:

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         1. Counsel for Defendant and the Government shall confer and make best
            efforts to submit to United States District Judge Mattice a proposed
            Agreed Order with respect to an appropriate disposition of the Petition for
            Warrant for Offender Under Supervision.

         2. In the event counsel are unable to reach agreement with respect to an
            appropriate disposition of the Petition for Warrant for Offender under
            Supervision, they shall request a hearing before United States District
            Judge Mattice.

         3. The government’s motion that Defendant be DETAINED WITHOUT
            BAIL pending further Order of this Court is GRANTED.

       ENTER.

                                          s/Christopher H. Steger
                                          United States Magistrate Judge




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